                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )   Case Number 3:22-cr-00282
                                                 )   JUDGE RICHARDSON
 [1] GLEN CASADA                                 )
 [2] CADE COTHREN                                )


                                            ORDER


       For the reasons explained during the September 26, 2024, telephone conference, the

Motion to Suppress (Doc. No. 160) is GRANTED. Defendants, without waiving any objection to

the Court’s granting of the motion, confirmed their commitment to comply with the preliminary

relief (cessation of any review of any of Intervenor Smith’s materials that might previously have

been occurring) ordered by the Court. The Court will address appropriate relief more fulsomely in

an order subsequently to be entered.

       IT IS SO ORDERED.

                                            ____________________________________
                                            ELI RICHARDSON
                                            UNITED STATES DISTRICT JUDGE




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